
OPINION OF THE COURT
PER CURIAM.
Fla. Stat. § 316.193 (1987) which makes it unlawful to drive under *47the influence of alcohol “within this State” was properly enforced against appellant who drove his car through a restaurant and marina parking lot to the boat ramp and allowed it to roll into the lake with his sleeping passenger inside. Zink v State, 448 So.2d 1196 (Fla. 1st DCA 1984).
There was no showing that the omitted or erased portions of a video tape were exculpatory and there was no showing of misconduct by the state, so the court properly denied the motion to dismiss the charges. Melendez v State, 498 So.2d 1258 (Fla. 1986). McNEAL, R., PETERSON, E., TOMBRINK, R., concur.
